    Case: 1:19-cv-03244 Document #: 16 Filed: 09/27/19 Page 1 of 1 PageID #:158




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

ABLE HOME HEALTH, LLC,                              )
on behalf of plaintiff and                          )
the class members defined herein,                   )
                                                    )
               Plaintiff,                           )       19 C 3244
                                                    )
               V.                                   )
                                                    )
ILLINOIS DOCTORS ON DEMAND, LLC                     )
and JOHN DOES 1-10,                                 )
                                                    )
               Defendants.                          )

                              ORDER DEFAULT JUDGMENT

       This matter coming to be heard on prove-up hearing on damages and costs in support of

Plaintiffs Motion for Entry of Default Judgment, all parties having notice and the Court being

fully advised in its premises, IT IS HEREBY ORDERED:

       Default judgment is entered against Defendant Illinois Doctors on Demand, LLC, and in

Plaintiff Able Home Health, LLC's favor, in the amount of $4,500.00 for Plaintiff in statutory

damages, plus $3,615.00 in attorney's fees and $465.00 in costs of suit.

       Defendant Illinois Doctors on Demand, LLC, is enjoined from further sending unsolicited

facsimile advertisements in the state of Illinois to Plaintiff Able Home Health, LLC.

       Plaintiffs individual claims against John Does 1-10 are dismissed without prejudice and

without costs, pursuant to Federal Rule of Civil Procedure 41.



Dated: ---------
        September 27, 2019
                                             United States District Judge
